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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, ex rel.
 NICOLAS MORENO
      Plaintiff-Relator,
                                                          Civil Case No. 19-03624 (ACR)
 v.

 WELLS FARGO BANK, N.A.,
     Defendant.



                                                ORDER

         The United States having declined to intervene in this action pursuant to the False Claims

Act, 31 U.S.C. § 3730(b)(4)(B), the Court ORDERS that,

         1. the Complaint be unsealed and served upon the defendants by the relator;

         2. all other contents of the Court’s file in this action remain under seal and not be made

public or served upon the defendants, except for this Order and the United States’ Notice of

Election to Decline Intervention, which the relator will serve upon the defendants only after

service of the Complaint;

         3. the seal be lifted as to all other matters occurring in this action after the date of this

Order;

         4. the parties shall serve all pleadings and motions filed in this action, including

supporting memoranda, upon the United States, as provided for in 31 U.S.C. § 3730(c)(3). The

United States may order any deposition transcripts and is entitled to intervene in this action, for

good cause, at any time;

         5. the parties shall serve all notices of appeal upon the United States;

         6. all orders of this Court shall be sent to the United States; and that
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      7. should the relator or the defendants propose that this action be dismissed, settled, or

otherwise discontinued, the Court will solicit the written consent of the United States before

ruling or granting its approval.



      SO ORDERED.



      Date: July 29, 2024                           ___________________________________
                                                    ANA C. REYES
                                                    UNITED STATES DISTRICT JUDGE
